                 IN THE UNITED STATES BANKRUPTCY COURT

                          FOR THE DISTRICT OF KANSAS

IN RE:

       Mark H Engen
       Maureen E. Engen
                    Debtors                          Case No: 15-20184-13


                 MOTION TO ALLOW ADMINISTRATIVE CLAIM

       Now comes BMO Harris Bank, N.A, and requests an order pursuant to 11 U.S.C.

§503(b) allowing it an administrative claim for post-petition payments of real estate

taxes, and in support, states as follows:

       1.      On June 13, 2003, the Debtors herein did execute and deliver to the

Movant a certain note and mortgage in the amount of $182,000.00 (Exhibit A), secured

by a mortgage on 7905 W. 96th St., Overland Park, KS 66212. (Exhibit B), and

Assignment of Mortgage (Exhibit C).

       2.      Movant paid $7,890.98 post-petition to the Johnson County Treasurer as

follows (Exhibit D):

               April 22, 2015 - $1,034.70 (2nd installment for 2014)

               November 24, 2015 - $1,060.68 (1st installment of 2015)

               April 19, 2016 - $1,060.67 (2nd installment for 2015)

               January 6, 2017 - $1,165.43 (1st installment of 2016)

               April 24, 2017 - $1,162.11 (2nd installment for 2016)

               November 29, 2017 - $1,203.70 (1st installment for 2017)

               April 9, 2018 - $1,203.69 (2nd installment for 2017)




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       3.        An administrative claim shall be allowed for the “actual, necessary costs

and expenses of preserving the estate… .” 11 U.S.C. Sec. 503(b)(1)(A). Some of the

costs and expenses that qualify as administrative expenses are specifically defined, but an

administrative expense may be any expense which satisfies the statute.

       4.        The Tenth Circuit has set forth a test to determine whether a claim

qualifies as an administrative expense. “[T]he expense must: (1) arise out of a

transaction between the creditor and the bankrupt's trustee or debtor-in-possession; and

(2) benefit the debtor-in-possession in the operation of the business”. In re Mid-Region

Petroleum, 1 F.3d 1130, 1133 (10th Cir. B.A.P. 1993).

       5.        Post-petition real estate taxes are a proper administrative expense. In re

Gifaldi, 207 B.R. 54 (Bankr. W.D.N.Y. 1997).


       6.        Movant’s claim qualifies as an administrative expense. The debtor

purchased the home and became obligated to pay real estate taxes as they come due. The

debtor’s purchase of and continued use of the property as a home qualifies as a

transaction.


       7.        While there is no ongoing business in the individual Chapter 13, the

payment of the taxes is a benefit to the estate and the debtor as it preserved the home

from the burden and expense of a potential real estate tax lien.


       8.        The estate obtained a direct and substantial benefit by Movant’s payment

of the debtor’s real estate taxes. Movant is entitled to an administrative claim in the

amount of $7,890.98 for payment of the real estate taxes on debtor’s home.




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       Wherefore, for the reasons stated above, BMO Harris Bank N.A. requests it be

allowed an administrative claim in the amount of $7,890.98 to be paid through the

debtor’s Chapter 13 plan.

                                            Respectfully submitted,

                                            MARTIN LEIGH PC

                                             By: _/s/ Pamela R. Putnam___________
                                            Steven M. Leigh, #70393,
                                            sml@martinleigh.com
                                            Pamela R. Putnam, #22894,
                                            prp@martinleigh.com
                                            2405 Grand Blvd., Suite 410
                                            Kansas City, MO 64108
                                            Telephone (816) 221-1430
                                            Facsimile (816) 221-1044
                                            ATTORNEYS FOR CREDITOR




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                           CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on this 8th day of January, 2019, a true
and correct copy of the above and forgoing was electronically filed and/or deposited in
the United States Mail, postage prepaid, addressed to the following:


David A. Reed
7823 Parallel Pkwy
Kansas City, KS 66112

Mark & Maureen Engen
7905 W 96th St
Overland Park, KS 66212

William H Griffin
5115 Roe Blvd Ste 200
Roeland Park, KS 66205-2393

Office of the U.S. Trustee
301 N. Main Street, Suite 1150
Wichita, KS 67202-4800


                                            Respectfully submitted,

                                            MARTIN LEIGH PC

                                            By: __/s/ Pamela R. Putnam___________

                                            Steven M. Leigh, #70393,
                                            sml@martinleigh.com
                                            Pamela R. Putnam, #22894,
                                            prp@martinleigh.com
                                            2405 Grand Blvd., Suite 410
                                            Kansas City, MO 64108
                                            Telephone (816) 221-1430
                                            Facsimile (816) 221-1044
                                            ATTORNEYS FOR CREDITOR




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EXHIBIT A




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EXHIBIT B




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EXHIBIT C




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EXHIBIT D



                                                    TAX RECEIPT




           ENGEN, MARK H.                                                     Receipt Number:
           ENGEN, MAUREEN E.
           7905 W 96TH ST                                                     Payment Date:                    4/27/2015
           OVERLAND PARK, KS 66212
                                                                              Effective Date:                  4/27/2015




   RE Tax ID / Quick-Ref    Tax Year         Tax     Interest     Fees     Payments         Amount Paid     Balance Due

                                2014    $2,069.40      $1.36      $0.00     $1,035.38           $1,035.38         $0.00

           CURRENT COUNTY RESIDENT 007905 W 96TH ST OVERLAND PARK, KS



                                                                  TOTAL                         $1,035.38         $0.00




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                                                 TAX RECEIPT




        ENGEN, MARK H.                                                     Receipt Number:
        ENGEN, MAUREEN E.
        7905 W 96TH ST                                                     Payment Date:                   12/15/2015
        OVERLAND PARK, KS 66212
                                                                           Effective Date:                 12/15/2015




RE Tax ID / Quick-Ref    Tax Year         Tax     Interest     Fees     Payments         Amount Paid     Balance Due

                             2015    $2,121.35      $0.00      $0.00         $0.00           $1,060.68      $1,060.67

        CURRENT COUNTY RESIDENT 007905 W 96TH ST OVERLAND PARK, KS



                                                               TOTAL                         $1,060.68      $1,060.67




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                                                 TAX RECEIPT




        ENGEN, MARK H.                                                     Receipt Number:
        ENGEN, MAUREEN E.
        7905 W 96TH ST                                                     Payment Date:                     5/3/2016
        OVERLAND PARK, KS 66212
                                                                           Effective Date:                   5/3/2016




RE Tax ID / Quick-Ref    Tax Year         Tax     Interest     Fees     Payments         Amount Paid     Balance Due

                             2015    $2,121.35      $0.00      $0.00     $1,060.68           $1,060.67         $0.00

        CURRENT COUNTY RESIDENT 007905 W 96TH ST OVERLAND PARK, KS



                                                               TOTAL                         $1,060.67         $0.00




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                                                 TAX RECEIPT




        ENGEN, MARK H.                                                     Receipt Number:
        ENGEN, MAUREEN E.
        7905 W 96TH ST                                                     Payment Date:                     1/9/2017
        OVERLAND PARK, KS 66212
                                                                           Effective Date:                   1/9/2017




RE Tax ID / Quick-Ref    Tax Year         Tax     Interest     Fees     Payments         Amount Paid     Balance Due

                             2016    $2,324.23      $3.31      $0.00         $0.00           $1,165.43      $1,162.11

        CURRENT COUNTY RESIDENT 007905 W 96TH ST OVERLAND PARK, KS



                                                               TOTAL                         $1,165.43      $1,162.11




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                                                 TAX RECEIPT




        ENGEN, MARK H.                                                     Receipt Number:
        ENGEN, MAUREEN E.
        7905 W 96TH ST                                                     Payment Date:                     5/3/2017
        OVERLAND PARK, KS 66212
                                                                           Effective Date:                   5/3/2017




RE Tax ID / Quick-Ref    Tax Year         Tax     Interest     Fees     Payments         Amount Paid     Balance Due

                             2016    $2,324.23      $3.31      $0.00     $1,165.43           $1,162.11         $0.00

        CURRENT COUNTY RESIDENT 007905 W 96TH ST OVERLAND PARK, KS



                                                               TOTAL                         $1,162.11         $0.00




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                                                       TAX RECEIPT


                        Treasury and Financial Management
                        111 S. Cherry St., Suite 1500
                        Olathe, KS 66061
                        (913) 715-2600
                        www.jocogov.org




        ENGEN, MARK H.                                                               Receipt Number:
        ENGEN, MAUREEN E.
        7905 W 96TH ST                                                               Payment Date:                    12/4/2017
        OVERLAND PARK, KS 66212
                                                                                     Effective Date:                  12/4/2017




RE Tax ID / Quick-Ref      Tax Year              Tax        Interest     Fees     Payments         Amount Paid     Balance Due

                                 2017     $2,407.39           $0.00      $0.00         $0.00           $1,203.70      $1,203.69

        ENGEN, MARK H.                  ENGEN, MAUREEN E. 007905 W 96TH ST OVERLAND PARK, KS



                                                                         TOTAL                         $1,203.70      $1,203.69




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                                                       TAX RECEIPT


                        Treasury and Financial Management
                        111 S. Cherry St., Suite 1500
                        Olathe, KS 66061
                        (913) 715-2600
                        www.jocogov.org




        BMO HARRIS NA                                                                Receipt Number:
        1200 WARRENVILLE RD
        NAPERVILLE, IL 60563                                                         Payment Date:                    4/23/2018

                                                                                     Effective Date:                  4/18/2018




RE Tax ID / Quick-Ref      Tax Year              Tax        Interest     Fees     Payments         Amount Paid     Balance Due

                                 2017     $2,407.39           $0.00      $0.00     $1,203.70           $1,203.69         $0.00

        ENGEN, MARK H.                  ENGEN, MAUREEN E. 007905 W 96TH ST OVERLAND PARK, KS



                                                                         TOTAL                         $1,203.69         $0.00




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